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             SYNOPSIS OF THE MAY 17, 2018 DEPOSITION OF TIMOTHY FEIL

        The following is a brief synopsis of the facts to which Timothy Feil, Esq. testified at his
deposition. COR Clearing, LLC (“COR”) is offering excerpts from Feil’s deposition, attached
hereto, as substantive evidence pursuant to the Court’s Individual Rules and Practice, Rule 5.C.ii.

        Feil represented Standard Financial Co., LLC (“First Standard”) as counsel, and was
retained in the middle of 2016. P. 10:9-14. The scope of Feil’s retention with First Standard
encompassed panoply of issues and matters, including customer-related issues, independent
contractor issues, regulatory issues, arbitrations, SRO responses, and lease matters. P. 11:19-
12:18. First Standard did not inform Feil that FINRA directed First Standard not to change
clearing firms from Hilltop Securities Inc. to COR. P. 47:5-48-11.




docs-100051560.1
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                                                                 Page 1


    UNITED STATES DISTRICT COURT SOUTHERN
    DISTRICT OF NEW YORK
    - - - - - - - - - - - - - - - - - - - -x
    COR CLEARING, LLC,
                   Plaintiff,
         -against-                Case No.
                           1:17-cv-02190(PAE)
    FIRST STANDARD FINANCIAL CO., LLC,
                   Defendant.
    - - - - - - - - - - - - - - - - - - - -x

       Anderson Kill, P.C.
       1251 Avenue of the Americas, 42nd Floor
       New York, New York 10022

       May 17, 2018
       11:00 a.m.



         VIDEO CONFERENCE EXAMINATION BEFORE
    TRIAL of TIMOTHY FEIL, the Witness
    herein, held at the above-mentioned time
    and place, pursuant to Subpoena, before
    Ilysa A. Linzer, a Notary Public in and
    for the State of New York.

                   MAGNA LEGAL SERVICES
             320 West 37th Street, 12th Floor
                  New York, New York 10018
                    (866) MAGNA-21
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                                                                  Page 2
 1
 2   A P P E A R A N C E S:
 3
 4   ANDERSON KILL, P.C.
            Attorneys for Plaintiff
 5          1251 Avenue of the Americas
            42nd Floor
 6          New York, New York            10020
     BY:    CHRISTIAN CANGIANO, ESQ.
 7          JEREMY DEUTSCH, ESQ.
 8
 9   ROBERT BURSKY, ESQ.
            Attorney for Witness
10          68 South Service Road
            Suite 100
11          Melville, New York 11747
     BY:    ROBERT BURSKY, ESQ.
12
13
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18
19
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21
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23
24
25
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                                                                  Page 3
 1
 2                   FEDERAL STIPULATIONS
 3
 4          IT IS HEREBY STIPULATED AND AGREED
 5   by and between the attorneys for the
 6   respective parties herein, that filing
 7   and sealing be and the same are hereby
 8   waived.
 9
10          IT IS FURTHER STIPULATED AND AGREED
11   that all objections, except as to form of
12   the question, shall be reserved to the
13   time of the trial.
14
15          IT IS FURTHER STIPULATED AND AGREED
16   that the within deposition may be sworn
17   to and signed before any officer
18   authorized to administer an oath, with
19   the same force and effect as if signed
20   and sworn to before this Court.
21
22
23                            -oOo-
24
25
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 5 of 75


                                                                  Page 4
 1
 2   T I M O T H Y          F E I L,
 3          the Witness herein, having
 4          been duly sworn by the Notary
 5          Public, was examined and testified
 6          as follows:
 7   EXAMINATION BY
 8   MR. CANGIANO:
 9         Q.     State your name for the record,
10   please.
11         A.     Timothy Feil.
12         Q.     State your address for the
13   record, please.
14         A.     3920 Veterans Memorial Highway,
15   Suite 8, Bohemia, New York 11716.
16                         MR. DEUTSCH: Before we
17                question Mr. Feil, very
18                quickly I am going to put a
19                statement on the record.              We
20                are -- my name is Jeremy
21                Deutsch.       I am an attorney
22                with the law firm of Anderson
23                Kill.
24                        We are here for
25                Mr. Feil's deposition.             The
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                                                                  Page 5
 1                            T. FEIL
 2                time for this was set by
 3                e-mails that we exchanged
 4                with Mr. Lieberman, who was
 5                included on every one of the
 6                e-mails.       And as of May 14,
 7                2018, at 2:41 Mr. Bursky
 8                proposed that we have the
 9                deposition on Thursday or
10                Friday of this week, and
11                asked us to advise.
12                       We heard further from
13                Mr. Bursky later that same
14                day at 6:55 p.m. on another
15                e-mail in which he copied
16                Mr. Lieberman, who is counsel
17                for First Standard, and
18                proposed 11:00 a.m. for the
19                deposition.        I confirmed for
20                11:00 a.m. on May 15th at
21                9:29 a.m., also including
22                Mr. Lieberman for a video
23                deposition.        We heard nothing
24                further from Mr. Lieberman.
25                       On Tuesday May 15th at
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                                                                  Page 6
 1                            T. FEIL
 2                7:50 p.m. Mr. Bursky sent us
 3                a PDF file with a document
 4                production.        We received
 5                that.     Mr. Lieberman was on
 6                those, and never responded.
 7                        This morning -- I am
 8                sorry, we -- this morning we
 9                also had a correspondence
10                with Mr. Lieberman in which
11                we sent him the video link
12                that we were using for today.
13                So we sent the zoom meeting
14                info invitation out on
15                Tuesday at -- Tuesday,
16                May 15th at 9:50 a.m., we
17                have included Mr. Lieberman.
18                We asked Mr. Lieberman in
19                that e-mail if he would be
20                joining us here at Anderson
21                Kill or if he would be
22                attending remotely.            We did
23                not receive a reply from
24                Mr. Lieberman from that
25                e-mail, although we have no
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 8 of 75


                                                                  Page 7
 1                            T. FEIL
 2                reason to believe he did not
 3                receive it.
 4                       We re-forwarded the
 5                invitation this morning at
 6                10:00 to Mr. Bursky and
 7                Mr. Lieberman, and noted to
 8                Mr. Lieberman that we were
 9                proceeding at 11 today having
10                not had a response from you
11                at all.
12                       We then at -- this
13                morning at 10:55 wrote to
14                Mr. Lieberman again and said
15                that we were commencing the
16                examination, that he had not
17                responded, and that we were
18                proceeding to the examination
19                without him.         We wrote to him
20                and said -- at 10:57 and
21                said, "Paul, you have not
22                responded to any of the many
23                e-mails concerning the
24                conduct or scheduling of this
25                deposition over the last two
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                                                                  Page 8
 1                            T. FEIL
 2                weeks.      We intend to proceed
 3                with or without you at 11.
 4                You can appear remotely at
 5                any time through the link
 6                that I provided to you
 7                earlier in the week, and
 8                which I re-sent this morning
 9                to you and Mr. Bursky.             Thank
10                you."     No response was
11                received to that.
12                        Mr. Bursky has telephoned
13                Mr. Lieberman's office, and
14                has learned that
15                Mr. Lieberman is out of the
16                office today at a hearing.
17                We will be proceeding with
18                the deposition in his
19                absence.       This was the
20                deposition pursuant to
21                Subpoena, which has been
22                scheduled by consent.
23                        We are ready to -- I'm
24                sorry, Mr. Feil, for having
25                to make you sit through that.
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                                                                   Page 9
 1                            T. FEIL
 2                         THE WITNESS:         No
 3                 worries.      Thank you.
 4                         MR. CANGIANO:         Did you
 5                 want to add anything, Rob?
 6                         MR. BURSKY:        No.     We are
 7                 ready to go, and let's
 8                 proceed.
 9         Q.      Good morning, Mr. Feil.             My
10    name is Chris Cangiano.             I am going to be
11    asking you some question this morning.
12         A.      Good morning.
13         Q.      Have you been deposed before?
14         A.      I have.
15         Q.      Okay.     So you know that all of
16    your answers have to be yeses and nos,
17    and not shaking of heads, and "uh-huhs,"
18    and grunts, and that sort of thing;
19    right?
20         A.      Yes.
21         Q.      Particularly since we are
22    appearing over Skype, or video messenger
23    it will probably make it even more
24    difficult to understand.              You are an
25    attorney?
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 11 of 75


                                                                   Page 10
 1                            T. FEIL
 2         A.      I am.
 3         Q.      You are admitted into practice
 4    in the State of New York?
 5         A.      I am.
 6         Q.      How long have you been admitted
 7    to practice in New York?
 8         A.      Approximately 17 years.
 9         Q.      Did there come a point in time
10    when you came to represent a company
11    called First Standard?
12         A.      Yes.
13         Q.      Okay.     When was that?
14         A.      Approximately mid 2016.
15         Q.      Mid 2016.       Had you ever
16    represented a company called Carl
17    Standard?
18         A.      I don't recall.
19         Q.      Is there anything that you
20    think would refresh your recollection?
21         A.      There might be.          I just at the
22    moment don't know what that is.
23         Q.      Okay.     Has there ever come a
24    point in time when you represented
25    personally a man called Carmine Berardi?
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 12 of 75


                                                                   Page 11
 1                            T. FEIL
 2         A.      I don't believe so personally.
 3         Q.      Okay.     Has there ever been a
 4    time when you have personally represented
 5    a man named John McCormick, or Jonathan
 6    McCormick?
 7         A.      Yes.
 8         Q.      Okay.     When was that?
 9         A.      In, I believe, 2016 time-frame.
10         Q.      Okay.     Did it have anything to
11    do with his employment by First Standard?
12         A.      Yes.
13         Q.      Can you tell me generally what
14    the subject matter of the retention was?
15         A.      It was involving his employment
16    agreement with the firm.
17         Q.      With First Standard?
18         A.      Yes.
19         Q.      Okay.     Can you tell me what,
20    generally, what the scope of your
21    employment by First Standard was?
22                         MR. BURSKY:        You mean
23                 retention, not employment?
24                         MR. CANGIANO:         Yes, I'm
25                 sorry, retention.
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 13 of 75


                                                                       Page 12
 1                            T. FEIL
 2         A.      Since mid 2016 it has covered a
 3    panoply of issues and matters;
 4    customer-related issues for the firm,
 5    independent contractor issues related to
 6    the firm, regulatory issues relative to
 7    the firm and/or brokers, arbitrations,
 8    SRO responses, lease matters.
 9         Q.      Do you have an engagement --
10    I'm sorry, were you finished?
11         A.      I am finished insofar as that's
12    all I can remember at the moment.
13         Q.      Okay.     I will do my best to not
14    speak over you, and likewise I ask that
15    you not speak over me if I am talking.                       I
16    know it is hard because we are appearing
17    remotely, so there may be a little lag,
18    but hopefully we can work together on it.
19                 Do you have an engagement
20    letter with First Standard?
21         A.      I have a retainer agreement for
22    specific matters.
23         Q.      So are you saying that each
24    matter that you have asked them to --
25    they have asked you to represent them on
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 14 of 75


                                                                   Page 13
 1                            T. FEIL
 2    you have had a specific retainer relating
 3    to that matter?
 4         A.      Not for all matters, but, for
 5    example, an arbitration proceeding.
 6    Smaller matters, no, but matters that
 7    require a retainer receive a retainer.
 8         Q.      Okay.     What matters were you
 9    representing them as to in 2016?
10                         MR. BURSKY:        Are you
11                 asking for types -- I mean --
12                         MR. CANGIANO:         Sure.
13                         MR. BURSKY:        Are you
14                 asking for types of matters?
15                         MR. CANGIANO:         Yes.
16                         MR. BURSKY:        I thought
17                 we just went over that, what
18                 he represented them on since
19                 inception.
20                         MR. CANGIANO:         Right.       I
21                 am asking specifically in
22                 2016, though.
23                         MR. BURSKY:        Oh.     Okay.
24                 Do you understand?
25                         THE WITNESS:         I believe
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                                                                   Page 14
 1                            T. FEIL
 2                 I do.
 3                         MR. BURSKY:        Okay.
 4         A.      Generically there was an
 5    arbitration proceeding, a customer
 6    arbitration proceeding that we were
 7    defending the firm's interest, the firm
 8    et al.'s interest.           I believe at that
 9    time there was also a lease negotiation
10    for an out of state office location, and
11    some regulatory related inquiries.
12         Q.      Okay.     Were those with FINRA?
13         A.      Some.     Yes, I believe one was
14    FINRA.
15         Q.      Do you have direct contact with
16    FINRA examiners on behalf of the firm?
17         A.      I did not have the direct
18    contact.
19         Q.      Okay.     Can I ask you if those
20    matters changed at all in the first part
21    of 2017, say, in the first two quarters?
22         A.      Excuse me for clarity, when you
23    say did they change --
24         Q.      Were there further matters,
25    yeah, I mean, were there any additional
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                                                                   Page 15
 1                            T. FEIL
 2    matters that you represented them on in
 3    the first two quarters of, say, 2017?
 4         A.      Not by specific retention --
 5    just for clarity of the record, not by
 6    specific retainer agreement.               There may
 7    have been ancillary matters that were
 8    brought to my attention where our counsel
 9    was sought.
10         Q.      Okay.     Can you remember what
11    any of those ancillary matters were,
12    generally?
13         A.      One was the matter of COR
14    Clearing.
15         Q.      Okay.     Specifically were you
16    asked to represent them, or what were you
17    asked to give them advice on in relation
18    to COR Clearing?
19         A.      In general terms there was an
20    issue involving the clearing firm
21    agreement.
22         Q.      Okay.     Do you recall what the
23    issue was?
24         A.      I do recall what it was, I just
25    don't know if I can go into detail on
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 17 of 75


                                                                   Page 16
 1                            T. FEIL
 2    that.
 3         Q.      Okay.     Generally -- by the way,
 4    just so I can clarify the record, when
 5    you say there was an issue with the
 6    clearing firm agreement, which clearing
 7    firm are you referring to?
 8         A.      Thank you for that clarifying
 9    question.       There was COR Clearing, there
10    was a COR Clearing agreement, and I think
11    the predecessor agreement was Hilltop
12    Securities.
13         Q.      Okay.     So generally, what
14    can -- can you tell me what the issue was
15    that you were being --
16         A.      Generally there was a -- there
17    was a conversation about transitioning
18    from one firm to another.
19         Q.      Okay.     Mr. Feil, do you know
20    why you are here today?
21         A.      Not completely.
22         Q.      Okay.
23         A.      To be frank, not completely.
24         Q.      That's fine.        You have an
25    Exhibit 42 there previously marked?
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                                                                   Page 17
 1                            T. FEIL
 2         A.      Can you bear with me one
 3    moment?
 4         Q.      Absolutely, sir.
 5         A.      Yes, I do.
 6         Q.      Okay.     If you look at
 7    Exhibit 42 you will see that it is a
 8    legal document titled "Amended Initial
 9    Disclosures Pursuant to Federal Rule
10    Civil Procedure 26(a)(1) made by First
11    Standard Financial Company, LLC."
12         A.      Yes.
13         Q.      Okay.     If you go to the last
14    page of the document, page six --
15         A.      Yes.
16         Q.      -- do you see that it is signed
17    on August 1, 2017, by Paul A. Lieberman
18    on behalf of the firm Eaton and Van
19    Winkle, LLP?
20         A.      Yes.
21         Q.      They sign as attorneys for
22    Defendants, First Standard Financial
23    Company, LLC?
24         A.      Yes.
25         Q.      Do you know what an initial
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                                                                   Page 18
 1                            T. FEIL
 2    disclosure pursuant to Federal Rule of
 3    Civil Procedure 26(a)(1) is generally?
 4         A.      Yes.
 5         Q.      Can you explain for the record,
 6    please?
 7         A.      Generally it is the FRCP
 8    mandate by a party to disclose the
 9    identity of all witnesses that may have
10    knowledge or information concerning the
11    claims or defenses in a civil action in
12    Federal Court.
13         Q.      Great.     If you will turn to
14    page four, sir.
15         A.      Yes.
16         Q.      You will see that there is a
17    chart at the top of the page?
18         A.      Yes.
19         Q.      Your name is listed in that
20    chart?
21         A.      Yes.
22         Q.      You are listed as counsel
23    for -- counsel.         Do you see that?
24         A.      Yes.
25         Q.      Your address, if you look back
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                                                                   Page 19
 1                            T. FEIL
 2    at page three you will see the title
 3    headings, they didn't carry them over.
 4    Your address is listed as First Standard
 5    Financial, FSF?
 6         A.      I do see that, yes.
 7         Q.      It further goes on to say, "may
 8    by contacted through the undersigned
 9    counsel."       Do you see that?
10         A.      Yes.
11         Q.      Was your offices ever located
12    at First Standard?
13         A.      No.
14         Q.      Did you ever have a
15    conversation with anyone at First
16    Standard where you told them it was okay
17    to list them as -- list their address as
18    your address?
19                         MR. BURSKY:        Actually,
20                 that's a different question
21                 than what you are asking --
22                 than what the chart reflects
23                 because here it is Lieberman
24                 counsel; right?
25                         MR. CANGIANO:         I will
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                                                                   Page 20
 1                            T. FEIL
 2                 get to that next, but it does
 3                 say address FSF.
 4         Q.      I am just curious as to whether
 5    you ever advised them that it was
 6    appropriate for them to list you as --
 7    with an address at FSF?
 8         A.      I never advised them of such.
 9         Q.      Did they ever ask you?
10         A.      Not to my recollection.
11         Q.      Then when it says, "may be
12    contacted through the undersigned
13    counsel," do you see that?
14         A.      Yes.
15         Q.      Did you ever -- did
16    Mr. Lieberman ever advise you that he was
17    going to be a contact person for you with
18    relation to anything?
19         A.      No, not at the time of this
20    document.
21         Q.      So you never -- you never gave
22    him any authority to list himself as a
23    contact person for you; did you?
24         A.      No.
25         Q.      Okay.     If you will flip back to
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 22 of 75


                                                                   Page 21
 1                            T. FEIL
 2    page three quickly, the last box says,
 3    "subject."
 4         A.      Yes.
 5         Q.      If you look next to your name
 6    it says, "negotiation, execution,
 7    performance, and frustration of the
 8    clearing agreement."            Do you see that?
 9         A.      I do.
10         Q.      Do you have any knowledge
11    regarding the negotiation of the clearing
12    agreement between Cor and First Standard?
13         A.      The negotiation -- and my
14    hesitation is just trying to understand
15    what could be encompassed in that phrase
16    or term.      Generally, no, I don't.
17         Q.      Okay.     Were you involved in
18    negotiating the clearing agreement
19    between Cor and First Standard at all?
20         A.      No.
21         Q.      Were you ever asked to review
22    any negotiated terms prior to the
23    agreement being executed?
24         A.      No.
25         Q.      Did you discuss any negotiated
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 23 of 75


                                                                   Page 22
 1                            T. FEIL
 2    terms prior to the execution of the
 3    contract between Cor and First Standard
 4    with anyone at First Standard?
 5         A.      Not to my recollection.
 6         Q.      Is there anything that we could
 7    use to refresh your recollection?
 8         A.      Not that I can think of at the
 9    moment.
10         Q.      Maybe looking back at your time
11    sheets, would that help at all?
12         A.      No.
13         Q.      Now, it also says that you have
14    knowledge regarding the execution of the
15    clearing agreement between Cor and First
16    Standard.       Do you have any knowledge
17    regarding the execution of the clearing
18    agreement between Cor and First Standard?
19         A.      Just so I understand the
20    question, prior to or contemporaneous of
21    the execution?
22         Q.      Let's start with prior to?
23         A.      No.
24         Q.      Okay.     And now let's move to
25    contemporaneous with?
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                                                                   Page 23
 1                            T. FEIL
 2         A.      No.
 3         Q.      Do you know when the agreement
 4    was executed between Cor and First
 5    Standard?
 6         A.      I believe it was the latter
 7    part of 2016.
 8         Q.      Sure.     Just so we can get this
 9    clear, you produced some documents in
10    relation to this case?
11         A.      Yes.
12         Q.      Do you have those documents
13    there?
14         A.      Yes.
15         Q.      Can you take the documents that
16    are Bates stamped TF 006 through 058,
17    which I think is the bulk of the
18    production.
19         A.      Yes.
20         Q.      Okay.     I am going to hand those
21    to the court reporter and ask her to mark
22    them for identification purposes as
23    Plaintiff's Exhibit 59.
24                         (Whereupon, Bates stamped
25                 TF 006 through 058 was marked
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 25 of 75


                                                                   Page 24
 1                            T. FEIL
 2                 as Plaintiff's Exhibit 59 for
 3                 identification, as of this
 4                 date.)
 5         Q.      Mr. Feil, can I ask you to look
 6    at these documents.           These were all
 7    produced from your files; is that
 8    correct?
 9         A.      Yes.
10         Q.      TF 006 through 12 appear to be
11    an e-mail chain; is that correct?
12         A.      Yes.
13         Q.      The top one is you forwarding
14    this e-mail chain on to your attorney;
15    correct?
16         A.      Yes.
17         Q.      Immediately under that is an
18    e-mail from Mr. McCormick to you; is that
19    correct?
20         A.      Yes.
21         Q.      That was sent on February 13,
22    2017; is that right?
23         A.      Yes.
24         Q.      If you will look at the very --
25    at page TF 012.
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                                                                   Page 25
 1                            T. FEIL
 2          A.     Yes.
 3          Q.     You will see there are two PDF
 4    attachments?
 5          A.     Yes.
 6          Q.     If you can look quickly through
 7    pages 13 through 58 and tell me if those
 8    represent the two attachments?
 9          A.     (Perusing.)        Yes.
10          Q.     These are the attachments that
11    Mr. McCormick sent to you on February 13,
12    2017?
13          A.     Yes.
14          Q.     Okay.     If you look at page TF
15    50.
16                         MR. BURSKY:        5-0?
17                         MR. CANGIANO:         5-0.
18          A.     Yes.
19          Q.     Okay.     You will see that -- you
20    see it says, "First Standard Financial
21    Company," and there is a signature
22    underneath that?
23          A.     I do see that.
24          Q.     Do you recognize the signature?
25          A.     I don't.
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 27 of 75


                                                                   Page 26
 1                            T. FEIL
 2         Q.      Okay.     You see that it is
 3    dated, though, 11/18/2016?
 4         A.      Yes.
 5         Q.      Okay.     I will represent to you
 6    that Mr. Berardi has already testified
 7    that he signed this on or about
 8    November 18, 2016.           Then if you will go
 9    to page -- if you go to page 52.
10         A.      Yes.
11         Q.      You see this is a Schedule A of
12    clearing agreement, and it is dated at
13    the top October 27, 2016.
14         A.      Yes.
15         Q.      There are initials at the
16    bottom for correspondent.              Do you
17    recognize those initials?
18         A.      I don't.
19         Q.      If I represent to you that they
20    are Mr. McCormick's initials, that he has
21    already testified that he has signed them
22    or initialed them.           Had you seen either
23    of these --
24         A.      I'm sorry, I didn't catch the
25    first part of your --
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 28 of 75


                                                                   Page 27
 1                            T. FEIL
 2         Q.      I am going to represent to you
 3    that those are Mr. McCormick's initials,
 4    and he has testified that he initialed it
 5    on or about that date.
 6                 Had you seen either the
 7    clearing agreement or the Schedule A
 8    prior to February 13, 2017?
 9         A.      I don't recall.
10         Q.      Is there anything that we can
11    do to refresh your recollection as to
12    that?
13         A.      I don't believe so.
14         Q.      Okay.     Would a review of your
15    time sheets for the period of
16    October 2016 through February 2017 do
17    anything to refresh your recollection in
18    that regard?
19         A.      No.
20         Q.      Did you bill any time in that
21    period for reviewing this contract?
22         A.      I don't believe so.
23         Q.      Or the Schedule A?
24         A.      I don't believe so.
25         Q.      Do you remember discussing the
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 29 of 75


                                                                   Page 28
 1                            T. FEIL
 2    contract with anyone at First Standard in
 3    or around November of 2016?
 4         A.      I don't believe so.
 5         Q.      Or the Schedule A?
 6         A.      I don't believe so.
 7         Q.      So you have no recollection as
 8    to whether at the time of the execution
 9    of the agreements you had any personal
10    knowledge in regards to them?
11         A.      Personal knowledge with regard
12    to the content of the documents, no.
13         Q.      The content or the execution of
14    the documents?
15         A.      Without receiving a document my
16    only hesitation is there may have been a
17    generic or general discussion about the
18    documents without me seeing them.                  I may
19    have been aware of it, I just don't
20    recall the contact time-frame.
21         Q.      So if you can look back at
22    Exhibit 59.
23                         MR. BURSKY:        Page 59?
24                         MR. CANGIANO:         No, the
25                 exhibit.      I am sorry.        Just
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 30 of 75


                                                                   Page 29
 1                            T. FEIL
 2                 the exhibit right now.
 3                         MR. BURSKY:        Going to
 4                 the very beginning?
 5                         MR. CANGIANO:         Yes.
 6                         MR. BURSKY:        TF 001?
 7                         MR. CANGIANO:         Let's go
 8                 to TF 008.
 9                         MR. BURSKY:        08?
10                         MR. CANGIANO:         Yes.
11                         MR. BURSKY:        Okay.      We
12                 are there.
13         Q.      You will see that this is an
14    e-mail from Ethan McComb to Jonathan
15    McCormick copying some other people as
16    well?
17         A.      Yes.
18         Q.      Do you know who Mr. McComb is?
19         A.      I do.
20         Q.      Who do you know him to be?
21         A.      The in-house general counsel
22    for COR Clearing.
23         Q.      Okay.     Have you ever had any
24    discussions with Mr. McComb?
25         A.      I have.
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 31 of 75


                                                                   Page 30
 1                            T. FEIL
 2         Q.      What did you discuss with him?
 3         A.      Well, may I ask a clarifying
 4    point or question?           Are you relegating
 5    that question only to this matter with
 6    COR Clearing?
 7         Q.      Have you had contacts with
 8    Mr. McComb unrelated to First Standard?
 9         A.      Yes.
10         Q.      Okay.     So I don't care about
11    your contacts unrelated to First
12    Standard.       Just in regards to First
13    Standard, have you had any contacts with
14    Mr. McComb?
15         A.      I don't specifically recall.
16         Q.      Okay.     Did you have any
17    contacts with Mr. McComb regarding the
18    negotiation of this agreement?
19         A.      No.
20         Q.      Did you have any contacts with
21    Mr. McComb regarding the execution of
22    this agreement?
23         A.      No.
24         Q.      Have you had any contacts with
25    Mr. McComb regarding this agreement at
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 32 of 75


                                                                   Page 31
 1                            T. FEIL
 2    all?
 3           A.    There may have been one brief
 4    telephone call in early 2017 regarding
 5    the agreement.
 6           Q.    Do you recall what would have
 7    been discussed?
 8           A.    I believe -- I believe it was
 9    the -- it was relative to a letter that
10    COR Clearing had sent in or about
11    February 2017 regarding the alleged
12    breach of the clearing agreement.
13           Q.    Okay.     You just broke up there
14    a little bit towards the end.                In or
15    about when?
16           A.    I believe it was in or about
17    the same time period of that -- of the
18    letter that COR Clearing sent to First
19    Standard regarding the purported breach
20    of the clearing agreement.
21           Q.    Do you recall what you sent to
22    Mr. McComb?
23           A.    Not specifically.
24           Q.    Do you recall what he said to
25    you?
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 33 of 75


                                                                   Page 32
 1                            T. FEIL
 2           A.    Not specifically, no.
 3           Q.    Do you recall how long the call
 4    was?
 5           A.    It was brief, maybe a few
 6    minutes, if at all.
 7           Q.    Okay.     As a result of the call,
 8    did you do anything?
 9           A.    I don't understand the
10    question, sorry.
11           Q.    As a result of whatever you and
12    Mr. McComb discussed, did you take any
13    actions thereafter?
14           A.    With Mr. McComb?
15           Q.    With regard to anything in
16    relation to First Standard?
17           A.    Right.     I am sorry, I don't
18    specifically recall what transpired
19    thereafter.
20           Q.    Is there anything that would
21    refresh your recollection?
22           A.    I don't believe so.
23           Q.    Would a review of your time
24    sheets at all refresh your recollection?
25           A.    No.
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 34 of 75


                                                                   Page 33
 1                            T. FEIL
 2         Q.      Did you bill time for making
 3    the call?
 4         A.      I don't believe so.
 5         Q.      Okay.     You said that the call
 6    was in regards to a letter regarding a
 7    purported breach of the agreement; is
 8    that correct?
 9         A.      Yes.
10         Q.      That's the agreement that we
11    just looked at, the one that you were
12    sent on the 13th?
13         A.      Yes.
14         Q.      Why do you say it was a
15    purported breach?
16         A.      Well, I believe there was a
17    divergence of opinion in or about that
18    time First Standard and Cor as to whether
19    there was in fact a breach.
20         Q.      Okay.     And do you recall what
21    the substance of the disagreement was?
22         A.      No.
23         Q.      Did you have any personal
24    knowledge regarding the breach or
25    purported breach of the contract?
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 35 of 75


                                                                   Page 34
 1                            T. FEIL
 2          A.     I have no personal knowledge,
 3    no.
 4          Q.     Or any of the facts or
 5    circumstances regarding the breach or
 6    purported breach of the contract?
 7          A.     I generally recall that being
 8    informed by First Standard that there was
 9    a conference call between principals at
10    First Standard and Cor, and there was
11    some heated debate about going forward
12    with the agreements.            There were some
13    concerns by First Standard by its rep
14    force about transitioning to Cor.                  There
15    was concern by FINRA about the
16    transaction itself, and some perceived
17    business interruption issues, significant
18    business interruption issues that could
19    result with the intended transaction.
20          Q.     Okay.     What personal knowledge
21    do you have regarding the issue of -- any
22    of the issues raised by the rep force
23    that you just referenced?
24          A.     As I stated in response to the
25    question before, I have no personal
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 36 of 75


                                                                   Page 35
 1                            T. FEIL
 2    knowledge.         This was all information that
 3    was shared with me in or about this late
 4    2016, early 2017 time-frame.
 5          Q.     It was shared to you by
 6    management at First Standard?
 7          A.     Correct.
 8          Q.     So you never spoke to anyone on
 9    the rep force, and no one on the rep
10    force ever expressed any concern to you?
11          A.     Not to me, no.
12          Q.     Now, regarding FINRA, were you
13    present for any discussions with FINRA
14    where FINRA raised any issues in regards
15    to the contract between Cor and First
16    Standard?
17          A.     No.
18          Q.     Have you had any independent
19    conversations with anyone at FINRA where
20    any issues were raised regarding the
21    contract between Cor and First Standard?
22          A.     No.
23          Q.     Do you know who William Jacob
24    is?
25          A.     I believe he is a FINRA
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 37 of 75


                                                                   Page 36
 1                            T. FEIL
 2    employee.
 3         Q.      Okay.     Have you had any
 4    conversations with Mr. Jacob regarding
 5    the contract between Cor and First
 6    Standard?
 7         A.      I have not.
 8         Q.      Just so that I can exhaust all
 9    of the topics that you raised, do you
10    have any personal knowledge of any -- of
11    the business interruption issues that
12    were identified to you?
13         A.      No, and as I stated, I have no
14    personal knowledge of any of those
15    issues.
16         Q.      So the only basis for your
17    statement is you were informed of this by
18    the First Standard management?
19         A.      That's my knowledge base, yes.
20         Q.      Were you ever asked for any --
21    to provide any legal advice regarding any
22    of those subjects?
23         A.      Just for clarity purposes,
24    those subjects are business
25    interruption --
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 38 of 75


                                                                   Page 37
 1                            T. FEIL
 2           Q.    I can break them down.
 3           A.    Okay.
 4           Q.    Were you ever asked to provide
 5    any legal advice with regards to the
 6    issues, the purported issues regarding
 7    the rep force, and the Cor/First Standard
 8    agreement?
 9           A.    There were discussions in that
10    regard, yes.
11           Q.    Where your legal advice was
12    sought?
13           A.    I would say it was in
14    connection with a legal consultation,
15    yes.
16           Q.    Were you ever asked to provide
17    any legal advice concerning FINRA and the
18    Cor/First Standard agreement?
19           A.    There was a discussion in that
20    realm with management at First Standard.
21           Q.    Do you recall when that was?
22           A.    I believe it was in or about
23    that same late 2016, early 2017
24    time-frame.
25           Q.    Okay.     Can I ask you what the
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 39 of 75


                                                                   Page 38
 1                            T. FEIL
 2    nature of the legal advice was?
 3         A.      I don't believe I am at liberty
 4    to say.
 5         Q.      So I just want to get it on the
 6    record, are you asserting a privilege?
 7         A.      Any communications had on those
 8    issues I believe is covered squarely by
 9    the attorney-client privilege.
10         Q.      Okay.     That's fine.        I just
11    want to get it on the record.
12         A.      Yes.
13         Q.      Likewise, the legal advice that
14    you asked in regards to the rep force?
15         A.      Yes.
16         Q.      You are -- yes, you are
17    asserting privilege to that as well?
18         A.      Yes, there was a discussion,
19    and any of those discussions are covered
20    by the attorney-client privilege.
21         Q.      Okay.     Were you asked to
22    provide any legal advice in regards to
23    the business interruption issues?
24         A.      There were discussions in the
25    same realm and manner as the other two
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 40 of 75


                                                                   Page 39
 1                            T. FEIL
 2    topics that we just discussed.                And yes,
 3    I believe it is covered by
 4    attorney-client privilege.
 5           Q.      Did they take your advice on
 6    any of those subjects?
 7           A.      I don't know if they took it or
 8    not.        I don't know that I can answer
 9    that.
10           Q.      You don't know you can answer
11    that because you believe it to be
12    privileged, or you just don't know the
13    answer to the question?
14           A.      I think there are a lot of
15    variables in that answer.              There was a
16    discussion.        More than that, I can't say
17    what they used to make any decisions.
18           Q.      If you go back to the initial
19    disclosures, it says that you have
20    discoverable information concerning the
21    performance of the clearing agreement
22    between Cor and First Standard.                 Are you
23    aware -- do you have any information,
24    personal information regarding the
25    performance of the clearing agreement?
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 41 of 75


                                                                   Page 40
 1                            T. FEIL
 2                         MR. BURSKY:        When you
 3                 say, "personal information,"
 4                 do you mean personal
 5                 knowledge?
 6         Q.      Personal knowledge, do you have
 7    any personal knowledge?
 8         A.      I have no personal knowledge.
 9         Q.      Okay.     Did you have any
10    discussions with anyone at First Standard
11    regarding the performance of the clearing
12    agreement?
13         A.      Or lack thereof, yes.
14         Q.      Okay.     Do you recall when you
15    had those conversations?
16         A.      Yes, in that same time period
17    of late 2016, early February 2017.
18         Q.      Do you recall who you had them
19    with?
20         A.      Yes.
21         Q.      Who was it?
22         A.      I believe it was Jonathan
23    McCormick.
24         Q.      Okay.     So now you have
25    indicated that you represented
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 42 of 75


                                                                   Page 41
 1                            T. FEIL
 2    Mr. McCormick both individually and you
 3    represent First Standard.              Were you
 4    speaking to Mr. McCormick as an
 5    individual, or were you speaking to him
 6    as a representative of the company?
 7         A.      As a principal of the company.
 8         Q.      Do you know if Mr. McCormick is
 9    a principal of the company?
10         A.      Yes.
11         Q.      What interest does he hold in
12    the company?
13         A.      In terms of his office or
14    share, I believe he is chief operating
15    officer.
16         Q.      Okay.     Does he have a personal
17    equity interest in the company at all; do
18    you know?
19         A.      I don't -- at that time, I
20    don't -- I don't know if it has changed,
21    but I think at that time he did not have
22    an equity interest.
23         Q.      Do you still represent him
24    personally?
25         A.      No.
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                                                                   Page 42
 1                            T. FEIL
 2         Q.      Do you still represent First
 3    Standard?
 4         A.      Yes.
 5         Q.      Throughout this period, were
 6    you their primary attorney?
 7         A.      No.
 8         Q.      Do you know who their primary
 9    attorney was?
10         A.      You know, as far as primary, at
11    that time I don't know that that phrase
12    fits.     I think they had a few different
13    outside counsels that handled various
14    sectors of the firm business.
15         Q.      Do you know who any of them
16    were?
17         A.      Yes.
18         Q.      Can you name them for me?
19         A.      I believe Ian Frimet of Wexler
20    Burkhart was one of them, and I believe
21    Paul Lieberman.
22         Q.      Okay.     Those attorneys were
23    representing First Standard
24    contemporaneous to your representation as
25    well?
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 44 of 75


                                                                   Page 43
 1                            T. FEIL
 2         A.      I am confident Ian Frimet of
 3    Wexler Burkhart was.            I am not sure if
 4    Paul Lieberman and/or his firm overlapped
 5    that same time period.             As I testified,
 6    my time-frame spans from, I think, mid
 7    2016.
 8                          MR. BURSKY:       Hold on.       I
 9                 have an emergency.           Wait one
10                 second.      Please.
11                          MR. CANGIANO:        We will
12                 go off for five minutes.
13                         (Whereupon, a short break
14                 was taken at this time.)
15         Q.      So you didn't have any
16    involvement in reviewing or comments on
17    any drafts of the agreement between Cor
18    and First Standard; is that correct?
19         A.      Correct.
20         Q.      Do you know if Mr. Frimet did?
21         A.      I believe that's correct.
22         Q.      Okay.     You didn't have any
23    involvement advising Hilltop that First
24    Standard was terminating its agreement
25    with Hilltop?
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 45 of 75


                                                                   Page 44
 1                            T. FEIL
 2         A.      Correct, I did not.
 3         Q.      Do you know if Mr. Frimet was
 4    involved in that at all?
 5         A.      I don't.
 6         Q.      Did you have any -- you didn't
 7    have any involvement -- did you have any
 8    involvement with the decision to renew
 9    negotiations with Hilltop after First
10    Standard entered into the Cor agreement?
11         A.      No.
12         Q.      Did they advise you that they
13    were considering re-entering into
14    negotiations with Hilltop after they
15    entered into the agreement with Cor?
16         A.      I believe they did.
17         Q.      Do you recall when that was?
18         A.      I do not.
19         Q.      Was it prior to February of
20    2017?
21         A.      I believe it must have been,
22    but I just can't recall when.
23         Q.      Were you asked to provide any
24    legal advice with regards to that?
25         A.      As I addressed earlier, that
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 46 of 75


                                                                   Page 45
 1                            T. FEIL
 2    was the nature of the legal consultation.
 3         Q.      Their desire to renew
 4    negotiations with Hilltop?
 5         A.      No.
 6         Q.      Okay.     So maybe I have lost it.
 7    Let me re-ask the question.               Were you
 8    asked to provide legal advice regarding
 9    the decision to reopen negotiations with
10    Hilltop after the Cor agreement was
11    signed?
12         A.      No.
13         Q.      You mentioned before that you
14    were advised that there were issues, you
15    were advised by First Standard management
16    that there were issues that FINRA had
17    raised; correct?
18         A.      Yes.
19         Q.      Do you remember what facts were
20    provided to you with regards to that?
21         A.      I do not.
22         Q.      Do you remember what the issue
23    was that FINRA purportedly raised?
24         A.      In a very general summary that
25    there was some indication or commentary
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 47 of 75


                                                                   Page 46
 1                            T. FEIL
 2    by FINRA that Cor may not be the most
 3    appropriate fit.
 4         Q.      Okay.     And do you recall who
 5    supposedly said that?
 6         A.      Who at FINRA?
 7         Q.      Yes.
 8         A.      I do not.
 9         Q.      Did you reach out to anyone
10    other than First Standard in regards to
11    that issue?
12         A.      I don't believe I said I
13    reached out to anybody on it, but that
14    was communicated to me by First Standard.
15         Q.      Okay.     So did you then reach
16    out to anyone at all, not -- as a result
17    of that issue being raised by First
18    Standard?
19         A.      I did not.
20         Q.      Okay.     Do you recall doing any
21    research as a result of being informed
22    that that issue had been raised by FINRA?
23         A.      No.
24         Q.      Do you recall at all being told
25    that FINRA advised them not to --
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 48 of 75


                                                                   Page 47
 1                            T. FEIL
 2    directed them not to perform the
 3    contract?
 4         A.      Can you please repeat that?
 5         Q.      Sure.     Do you recall being --
 6    were you ever advised that FINRA had
 7    directed them not to change clearing
 8    firms?
 9         A.      I don't believe I used the term
10    "directed," but, again, I was told that
11    by First Standard.           I did not
12    subsequently go out and do anything with
13    that information.
14         Q.      Okay.     But what I am asking is,
15    were you told by them that they were told
16    that they couldn't do it?
17         A.      I don't believe that was the
18    language, the specific language that
19    there was an edict by FINRA that they
20    couldn't.
21         Q.      That there was not one;
22    correct?
23         A.      Correct.
24         Q.      Did you ever see anything in
25    writing from FINRA expressing concern
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 49 of 75


                                                                   Page 48
 1                            T. FEIL
 2    with First Standard clearing with Cor?
 3         A.      No.
 4         Q.      Did you ever see any e-mails
 5    from any FINRA examiner or representative
 6    expressing any concerns with FINRA moving
 7    to Cor --
 8         A.      Same response, no.
 9         Q.      Let me correct my question.
10    From First Standard moving to Cor?
11         A.      No.
12         Q.      Did you have any discussions
13    with anyone at Hilltop regarding the
14    Cor/First Standard agreement?
15         A.      No.
16         Q.      Were you consulted on any
17    matters at all regarding the
18    Hilltop/First Standard clearing
19    relationship?
20         A.      Not more than I have already
21    testified.
22         Q.      Okay.     So you had no
23    involvement in their initial contract
24    with -- between Cor and First Standard --
25    rather, First Standard and Hilltop?
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                                                                   Page 49
 1                            T. FEIL
 2         A.      Correct, I had no involvement.
 3         Q.      First Standard and Southwest?
 4         A.      Correct, I had no involvement
 5    with either the Hilltop and/or Southwest
 6    agreement.
 7         Q.      Okay.     What about the renewed
 8    terms that they entered into eventually,
 9    were you ever asked to review those
10    renewed terms?
11         A.      I don't believe so.
12         Q.      Were you ever asked to review
13    any reviewed Schedule A regarding Hilltop
14    and First Standard?
15         A.      I don't believe so.
16         Q.      Were you ever asked to consult
17    with FINRA in regards to the
18    nonperformance of the Cor/First Standard
19    agreement?
20         A.      As I -- no.
21         Q.      Did you have any discussions
22    with anyone at FINRA regarding this
23    lawsuit?
24         A.      No.
25         Q.      Were you ever asked to provide
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 51 of 75


                                                                   Page 50
 1                            T. FEIL
 2    any legal advice concerning the affect of
 3    this lawsuit on First Standard's filings
 4    with FINRA?
 5         A.      Can you repeat that?
 6                          MR. CANGIANO:        Can you
 7                 read back my question?
 8                         (Whereupon, a portion of
 9                 the testimony was read back.)
10         A.      No.
11         Q.      Did you ever speak to anyone at
12    FINRA regarding this lawsuit's effect on
13    First Standard's net capital
14    calculations?
15         A.      No.
16         Q.      Were you ever asked to provide
17    any legal advice by First Standard
18    regarding net capital calculations and
19    this lawsuit?
20         A.      I did have a discussion that I
21    believe is covered by attorney-client
22    privilege.
23         Q.      Okay.     Do you recall when you
24    had that discussion?
25         A.      During the last few months.
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                                                                   Page 51
 1                            T. FEIL
 2         Q.      Okay.     Do you recall who you
 3    had it with?
 4         A.      Yes.
 5         Q.      What is your basis for
 6    believing that it is covered by the
 7    attorney-client privilege?
 8         A.      There were inquiries made by
 9    now general counsel to First Standard to
10    myself.
11         Q.      And those inquiries were with
12    regards to net cap calculations and that
13    lawsuit?
14         A.      Yes.
15         Q.      Who is the general counsel at
16    First Standard?
17         A.      Jay Israel.
18         Q.      And when did he become general
19    counsel; do you know?
20         A.      I believe it was late 2017,
21    perhaps December.
22         Q.      So it was after the
23    commencement of this lawsuit?
24         A.      If that's when it was.             It may
25    have been a little before, a little
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                                                                   Page 52
 1                            T. FEIL
 2    after.     I can't be sure.
 3         Q.      Were you aware that this
 4    lawsuit commenced in March of 2017?
 5         A.      Yes.
 6         Q.      Were you asked to provide any
 7    legal advice with regards to this
 8    lawsuit?
 9         A.      No.
10         Q.      Were you ever asked prior to
11    today to review the amended initial
12    disclosures that we looked at,
13    Plaintiff's Exhibit 42?
14         A.      Was I asked prior to today?
15         Q.      Yes.     We looked at it this
16    morning, so prior to today?
17         A.      Right.     I did.      I was presented
18    the document in the last month or so.
19         Q.      Okay.     Was that after it became
20    clear that your testimony was going to be
21    requested?
22         A.      Yes.
23         Q.      Okay.     So prior to that you had
24    not seen that document?
25         A.      Correct.
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 54 of 75


                                                                   Page 53
 1                            T. FEIL
 2         Q.      What information do you
 3    personally have regarding the -- and I am
 4    looking back at the initial
 5    disclosures -- frustration of the
 6    clearing agreement?
 7         A.      The only thing that I have,
 8    which is what was provided, that I think
 9    would fall under that category would be
10    that Cor letter in or about
11    February 2017.
12         Q.      Okay.     So if we can go back to
13    the documents that you produced, and look
14    at pages one through five?
15         A.      Yes.
16         Q.      I am going to give those pages
17    Bates stamped TF 001 through TF 005 to
18    the court reporter and ask her to mark it
19    for identification purposes as
20    Plaintiff's Exhibit 60.
21                         (Whereupon, Bates stamped
22                 TF 001 through TF 005 was
23                 marked as Plaintiff's Exhibit
24                 60 for identification, as of
25                 this date.)
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 55 of 75


                                                                   Page 54
 1                            T. FEIL
 2         Q.      Do you have that in front of
 3    you, sir?
 4         A.      I do.
 5         Q.      Can I ask you to review that,
 6    please?
 7         A.      (Perusing.)        Yes.
 8         Q.      Okay.     The first three pages,
 9    TF 001 through 003, are a series of
10    e-mails; is that correct?
11         A.      Yes.
12         Q.      And the first one is an e-mail
13    that you sent to your counsel,
14    Mr. Bursky; correct?
15         A.      Yes.
16         Q.      And that's forwarding the other
17    ones?
18         A.      Yes.
19         Q.      Okay.     So the next e-mail on
20    this list in the chain is from Jonathan
21    McCormick to you sent on February 13,
22    2017; do you recall receiving that?
23         A.      I do.
24         Q.      Okay.     And that's forwarding an
25    e-mail from Mr. McComb to Mr. Berardi,
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 56 of 75


                                                                   Page 55
 1                            T. FEIL
 2    Mr. McCormick, and CCing a bunch of other
 3    people; do you see that?
 4         A.      I do.
 5         Q.      Okay.     It has got an attachment
 6    to it?
 7         A.      Yes.
 8         Q.      And that's pages TF 004 to 005?
 9         A.      Yes.
10         Q.      Which is a letter from
11    Mr. McComb to Mr. Berardi and
12    Mr. McCormick?
13         A.      Yes.
14         Q.      Is this the letter we have been
15    discussing?
16         A.      Yes.
17         Q.      Okay.     And you received this
18    from Mr. McCormick on February 13th;
19    correct?
20         A.      Yes.
21         Q.      Okay.     Were you asked to
22    provide legal advice with regards to this
23    letter?
24         A.      I was consulted for purposes of
25    this letter.
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 57 of 75


                                                                   Page 56
 1                            T. FEIL
 2         Q.      Okay.     Were you consulted with
 3    regard to your provision of legal advice?
 4         A.      The communications with myself
 5    and First Standard regarding this letter
 6    was in the confines of a legal
 7    consultation, yes.
 8         Q.      Okay.     Do you recall what
 9    subject your legal advice was sought?
10         A.      The subject matter of the
11    letter.
12         Q.      Okay.     Does looking at the
13    letter -- when you said you spoke to
14    Mr. McComb, did you speak to him -- you
15    spoke to him regarding this letter; is
16    that correct?
17         A.      I believe I did.
18         Q.      Okay.     Looking at the letter,
19    does that refresh your recollection as to
20    anything that you and he may have
21    discussed in your call?
22         A.      Well, it does, but I think I
23    testified earlier that -- yes, I did
24    speak to him, and it was relative to this
25    letter.
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 58 of 75


                                                                   Page 57
 1                            T. FEIL
 2         Q.      I am asking does looking at the
 3    letter now refresh your recollection as
 4    to any specific things that you discussed
 5    with him, or he discussed with you?
 6         A.      No.     The letter does not.
 7         Q.      Okay.     Did you undertake any
 8    other actions as a result of receiving
 9    this letter other than speaking to
10    Mr. McComb?
11         A.      No.
12         Q.      Did you do any legal research
13    as a result of receiving this letter?
14         A.      I don't recall.
15         Q.      Did you write any responses to
16    Mr. McComb or anyone at Cor as a result
17    of receiving this letter?
18         A.      No.
19         Q.      Do you recall what the result
20    of your conversation with Mr. McComb on
21    the phone was, if anything?
22         A.      I believe there was no result.
23    It was a very brief conversation, and
24    there was no result, there was no
25    happening.         The call was the sum and
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 59 of 75


                                                                   Page 58
 1                            T. FEIL
 2    substance of -- there was no result.
 3           Q.    Okay.     Do you recall any other
 4    discussions thereafter regarding the
 5    claim that First Standard had breached
 6    the agreement with Cor?
 7           A.    I'm sorry, with Mr. McComb?
 8           Q.    Sure, with Mr. McComb?
 9           A.    No.
10           Q.    Do you recall ever being
11    consulted further with regards to the
12    claim that First Standard had breached
13    the agreement with Cor between, let's
14    say, the date of February 13th, and the
15    filing of this Complaint?
16           A.    I believe there was
17    conversation with First Standard, but
18    after that, no, nothing further.
19           Q.    Okay.     Do you recall what you
20    discussed with First Standard in regards
21    to that?
22           A.    I do.
23           Q.    Okay.     Can I ask you what that
24    was?
25           A.    I don't believe so.           That
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 60 of 75


                                                                   Page 59
 1                            T. FEIL
 2    conversation would be covered by
 3    attorney-client privilege.
 4         Q.      And why do you believe that it
 5    would be covered by attorney-client
 6    privilege?
 7         A.      Because it was in connection
 8    with a legal consult.
 9         Q.      Okay.     What further legal
10    consultation did you have with them?
11    What was the general subject of it?
12         A.      This letter, and my
13    conversation with Ethan McComb.
14         Q.      Do you recall if you made any
15    notes of your conversation with
16    Mr. McComb, short as it may have been?
17         A.      I do recall that I did not.
18         Q.      Can I ask you to look at
19    Plaintiff's Exhibit 37, which was sent to
20    you yesterday, it was previously marked.
21         A.      Yes.
22         Q.      Okay.     This is an e-mail from
23    Mr. McComb to Mr. Berardi, and
24    Mr. McCormick, and it CCs some other
25    people.      It says, "dear Mr. Berardi and
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 61 of 75


                                                                   Page 60
 1                            T. FEIL
 2    McCormick, I am writing to follow up on
 3    our February 13th letter attached below
 4    in which we asked that First Standard let
 5    us know whether First Standard intends to
 6    immediately hear breaches of the FCDA,
 7    and fulfill its obligations under the
 8    FCDA.     Since we have not received any
 9    response to our request we are writing
10    again to ask that First Standard please
11    respond."
12                 Do you recall if you were
13    provided a copy of this e-mail?
14         A.      I don't.
15         Q.      You see that it is dated
16    February 21, 2017?
17         A.      Yes.
18         Q.      Do you believe that you spoke
19    to Mr. McComb prior to this e-mail being
20    sent?
21         A.      I don't recall whether it was
22    shortly before or afterwards.
23         Q.      Okay.     Do you have any reason
24    to believe that he would be questioning
25    as to whether they had responded if you
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 62 of 75


                                                                   Page 61
 1                            T. FEIL
 2    had spoken to him already?
 3           A.    I don't -- I can't answer that.
 4           Q.    Do you recall if when you spoke
 5    to him you would -- you advised him that
 6    they would be providing a further
 7    response?
 8           A.    No, I don't recall that.
 9           Q.    So is it safe to say that your
10    involvement with regards to the agreement
11    between Cor and First Standard happened
12    subsequent to the agreement being signed,
13    and around the time that they were
14    breaching or purportedly breaching the
15    agreement?
16           A.    That's a fair statement.
17           Q.    And that prior to that you had
18    no real involvement with the agreement or
19    the decision to seek a new agreement with
20    Cor?
21           A.    Seek a new agreement with --
22           Q.    Seek a new clearing
23    relationship with Cor?
24           A.    Yes, my involvement was after
25    the execution, and in that late 2016,
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 63 of 75


                                                                   Page 62
 1                            T. FEIL
 2    early 2017 time-frame.
 3           Q.    Around the time of the
 4    allegation that First Standard had
 5    breached the agreement?
 6           A.    Yes.
 7           Q.    And even as to that you have no
 8    personal of any facts?
 9           A.    Other than what I have stated,
10    yes.
11           Q.    Other than what you were told
12    by First Standard's management, you have
13    no personal knowledge of any of the facts
14    surrounding it?
15           A.    Correct.
16           Q.    Okay.
17                          MR. CANGIANO:        Can we
18                 take a minute or two off the
19                 record?
20                          MR. BURSKY:       Sure.
21                         (Whereupon, a short break
22                 was taken at this time.)
23           Q.    Mr. Feil, can you take a look
24    at what has been previously marked as
25    Plaintiff's Exhibit 38, please?
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 64 of 75


                                                                   Page 63
 1                            T. FEIL
 2         A.      Yes.
 3         Q.      Okay.     That's the First Amended
 4    Complaint in this matter.
 5         A.      Yes, it appears to be.
 6         Q.      Have you seen this before?
 7         A.      Yes.
 8         Q.      Okay.     In what context have you
 9    seen it?
10         A.      In or about the time that it
11    was filed, I believe we were made aware
12    of it, of same.
13         Q.      Okay.     I am sorry, finish your
14    answer.
15         A.      Then I think we pulled it up
16    through ECF.
17         Q.      Okay.     Did you review it at
18    that time?
19         A.      Yes.
20         Q.      Okay.     Do you have any
21    discoverable non-privileged information
22    regarding the factual allegations in this
23    Complaint?
24         A.      No.
25                         MR. BURSKY:        Before you
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                                                                   Page 64
 1                            T. FEIL
 2                 say that, I mean, did you
 3                 review the Complaint?
 4                         MR. CANGIANO:         He can
 5                 feel free to.         If he wants to
 6                 re-review the Complaint,
 7                 because he did say that he
 8                 has reviewed it once at
 9                 least, but if he wants to
10                 re-review it, it is
11                 completely up to him.
12                         MR. BURSKY:        Keep in
13                 mind some documents have been
14                 furnished from you already
15                 from Cor standpoint which may
16                 be issues raised in the
17                 Complaint; right?
18                         MR. CANGIANO:         You mean
19                 the documents that he has
20                 produced, and we have already
21                 gone through?
22                         MR. BURSKY:        Right.
23         A.      Nothing more than what I have
24    previously provided through Mr. Bursky.
25         Q.      So since we are talking about
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 66 of 75


                                                                   Page 65
 1                            T. FEIL
 2    the documents, can I ask you what sort of
 3    review you did to find documents in
 4    regards to the case?
 5                         MR. BURSKY:        If I
 6                 understood correctly the
 7                 question is what documents?
 8          Q.     What review did you undertake
 9    to find documents, what search?
10          A.     It was -- we reviewed
11    documented, or I reviewed any documents
12    that we had on our server for First
13    Standard relative to Cor, and we also --
14    I also did an e-mail search.
15          Q.     Did you maintain a physical
16    file in regards to First Standard?
17          A.     Not for this matter.
18          Q.     Okay.     The only documents that
19    you found that were responsive to the
20    Subpoena were the ones that you produced?
21          A.     Correct.
22          Q.     Okay.     And you can't think of
23    anywhere else where such documents might
24    be?
25          A.     No.
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                                                                   Page 66
 1                            T. FEIL
 2         Q.      And you haven't withheld any
 3    documents on the basis of privilege?
 4         A.      No.
 5         Q.      Okay.     Do you have any
 6    understanding as to why First Standard
 7    continues to maintain your name on their
 8    Amended Initial Disclosures?
 9         A.      Frankly, no.
10         Q.      Have you asked them to amend to
11    remove your name?
12         A.      I don't believe it went that
13    far other than perhaps to point out that
14    there was a different attorney that was
15    involved in the negotiation or drafting
16    process on behalf of First Standard, and
17    perhaps there was some confusion at that
18    point.
19         Q.      You advised Mr. Lieberman of
20    that?
21         A.      Very recently, yes.
22         Q.      Okay.     By "very recently," does
23    that mean when you found out that you
24    were going to be called as a witness in
25    this matter?
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                                                                   Page 67
 1                            T. FEIL
 2         A.      Yes.
 3         Q.      Okay.     And that was within the
 4    past month; is that right?
 5         A.      Approximately, yes.
 6         Q.      Okay.     Mr. Lieberman had not
 7    discussed with you the fact that you had
 8    been named as a potential witness as far
 9    back as August 2017; did he?
10         A.      I don't believe I was made
11    aware of that until recently.
12         Q.      Okay.     Have you had any
13    discussions, other than the ones we just
14    talked about, with Mr. Lieberman in
15    regards to this case?
16         A.      Very generally just getting
17    sort of the update as to timing.
18         Q.      Okay.     Do you remember when
19    that was?
20         A.      In or about the same time of
21    the Subpoena.
22                          THE WITNESS:        Can you
23                 give me one second?
24                         (Whereupon, a short break
25                 was taken at this time.)
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 69 of 75


                                                                   Page 68
 1                            T. FEIL
 2           Q.    You said that you had
 3    identified to Mr. Lieberman that perhaps
 4    you were not the correct attorney to
 5    call, and that there was another attorney
 6    who was involved in the drafting and
 7    negotiation process; do you recall that
 8    testimony?
 9           A.    Yes.
10           Q.    And which attorney were you
11    referring to?
12           A.    Ian Frimet.
13           Q.    It is your understanding if
14    anyone has any information regarding that
15    it would be Mr. Frimet?
16           A.    That's my understanding, yes.
17           Q.    Did you have any discussions at
18    all with Mr. Lieberman regarding your
19    testimony here today?
20           A.    Yes, I had conversations with
21    him.
22           Q.    Okay.     What was said?
23           A.    Generally why am I being
24    called, and is it necessary.
25           Q.    And do you recall what he said
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                                                                   Page 69
 1                            T. FEIL
 2    to you?
 3         A.      Yes, that I was previously
 4    identified, and, you know, the capacity
 5    in which I was identified, and my retort
 6    that I don't think the description is
 7    quite correct from the 26(a).
 8         Q.      Okay.     Great.      Do you recall
 9    any further response to him in regards to
10    that?
11         A.      No, not really.
12         Q.      Do you recall how many
13    conversations you had with him in that
14    regards, I mean, how many times you spoke
15    to him in regards to this issue?
16         A.      Two or three limited, and
17    then -- yeah, two or three.
18         Q.      Okay.     That's within the past
19    month; is that right?
20         A.      Yes.
21         Q.      Okay.     Have you spoken to
22    Mr. Lieberman since you retained
23    Mr. Bursky?
24         A.      I don't believe so.
25         Q.      Has there been any discussion
 Case 1:17-cv-02190-PAE Document 58 Filed 10/22/18 Page 71 of 75


                                                                   Page 70
 1                            T. FEIL
 2    about First Standard covering
 3    Mr. Bursky's fees on your behalf?
 4         A.      I don't believe so.           I think
 5    that's my responsibility.
 6         Q.      Your responsibility to ask them
 7    to do so?
 8         A.      No, I think my responsibility
 9    to pay Mr. Bursky.
10         Q.      Do you plan to ask them to
11    reimburse you?
12         A.      I am sorry?
13         Q.      Do you plan to ask them to
14    reimburse you?
15         A.      No.
16         Q.      Do you plan to ask them to
17    compensate you for the time you had to
18    spend here today?
19         A.      No.
20                         MR. CANGIANO:         Off the
21                 record.
22                        (Whereupon, a discussion
23                 was held off the record.)
24                         MR. CANGIANO:         Mr. Feil,
25                 I think that's all of the
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                                                                   Page 71
 1                            T. FEIL
 2                 questions we have for you.
 3                 Thank you very much for your
 4                 time and your patience, and
 5                 we will close our deposition
 6                 of you.
 7                         THE WITNESS:         You are
 8                 very welcome, and thank you
 9                 for the accommodation via
10                 zoom.
11                         MR. CANGIANO:         Happy to
12                 help.     Hopefully it was a
13                 little easier than Skype.              We
14                 had issues with Skype
15                 depositions before.
16                         MR. BURSKY:        Will you be
17                 sending us a copy of this
18                 transcript to review?
19                         MR. CANGIANO:         I believe
20                 that -- I don't want to
21                 advise as to what the rules
22                 are, but I believe it is your
23                 responsibility to ask for it,
24                 and if you do the court
25                 reporter will provide one to
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                                                                   Page 72
 1                            T. FEIL
 2                 you.
 3                         MR. BURSKY:        I just
 4                 wanted to know if you were
 5                 doing so as a matter of
 6                 course.
 7                         MR. CANGIANO:         We would
 8                 absolutely send you a copy of
 9                 it, but I think in order to
10                 be able to -- we can off the
11                 record.
12                        (TIME NOTED: 12:40 p.m.)
13
14
                                       TIMOTHY FEIL
15
      Subscribed and sworn to
16
      before me this                day
17
      of                        , 2018.
18
19
             NOTARY PUBLIC
20
21
22
23
24
25
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                                                                      Page 73
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 4    WITNESS              EXAMINATION BY                    PAGE
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 6
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                                                                   Page 74
 1
 2                    C E R T I F I C A T E
 3
 4           I, ILYSA A. LINZER, a Shorthand
 5    Reporter and Notary Public of the State
 6    of New York, do hereby certify:
 7
 8           That, TIMOTHY FEIL, the Witness
 9    whose examination is hereinbefore set
10    forth, was duly sworn, and that such
11    examination is a true record of the
12    testimony given by such Witness.
13
14           I further certify that I am not
15    related to any of the parties to this
16    action by blood or marriage; and that I
17    am in no way interested in the outcome of
18    this matter.
19
20    __________________                  ________________
      ILYSA A. LINZER                        MAY 23, 2018
21
22
23
24
25
